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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 NOVEDEA SYSTEMS, INC. and                       §
 ANAND DASARI                                    §
                                                 §
      Plaintiffs,                                §
                                                 §                   Civil Action No. 6:20-cv-180
 v.                                              §
                                                 §                   JURY TRIAL DEMANDED
 COLABERRY, INC. and                             §
 RAM KATAMARAJA,                                 §
                                                 §
      Defendants.                                §


                         PLAINTIFF NOVEDEA SYSTEMS, INC.’S
                         CORPORATE DISCLOSURE STATEMENT

         Plaintiff Novedea Systems, Inc. (“Novedea”) provides the following corporate disclosure

statement under Federal Rule of Civil Procedure 7.1:

         Novedea has no parent corporation, and no publicly held corporation owns 10% or more

of Novedea’s stock.

         Dated: June 30, 2020.

                                                     Respectfully submitted,




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                                                  ATTORNEYS    FOR             PLAINTIFFS
                                                  NOVEDEA SYSTEMS,             INC. AND
                                                  ANAND DASARI

                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above and foregoing was served by ECF to
counsel of record on June 30, 2020:

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